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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                                    CONSOLIDATED ACTION

                                                                                Case No. 18-62758-CIV-DIMITROULEAS
                                                                                Case No. 19-61623-CIV-DIMITROULEAS
                                                                                Case No. 20-60303-CIV-DIMITROULEAS
                                                                                Case No. 20-60306-CIV-DIMITROULEAS
                                                                                Case No. 20-60307-CIV-DIMITROULEAS
                                                                                Case No. 20-60308-CIV-DIMITROULEAS
                                                                                Case No. 20-60310-CIV-DIMITROULEAS
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                                                                                Case No. 20-60317-CIV-DIMITROULEAS
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                                                                                Case No. 20-60322-CIV-DIMITROULEAS
                                                                                Case No. 20-60325-CIV-DIMITROULEAS
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                                                                                Case No. 20-60327-CIV-DIMITROULEAS
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                                                                                Case No. 20-60331-CIV-DIMITROULEAS
                                                                                Case No. 20-60332-CIV-DIMITROULEAS
                                                                                Case No. 20-60333-CIV-DIMITROULEAS


 IN RE: MARJORY STONEMAN DOUGLAS
 HIGH SCHOOL SHOOTING FTCA LITIGATION
 _________________________________________/



          PLAINTIFFS’ RESPONSE TO THE GOVERNMENT’S MOTION TO DISMISS




   Podhurst Orseck P.A.
   One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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             Two seemingly contradictory things can be true at once. F. Scott Fitzgerald once wrote that
   “the test of intelligence is the ability to hold two opposed ideas in one’s head at the same time.”
   This case exemplifies the maxim, because it presents an apparent paradox: it is extraordinary, even
   unique, and at the same time utterly commonplace.
             On the one hand, this case is singular in the context of federal tort claims. It is exceptional
   in its essential facts: it began with an unprecedented failure of communication between the FBI’s
   Public Access Line (PAL) and its investigative units. On January 5, 2018, the PAL received an
   urgent and specific tip call about the imminent threat that Nikolas Cruz posed. But in an
   extraordinary breach of its own protocols, the PAL failed to pass the information along to the
   highly trained FBI agents who would have prevented the tragedy. The FBI’s Deputy Director said
   that when he listened to the recording of the call, he was “appalled” at the specificity of the tip and
   his heart sank. This case is also extraordinarily tragic in its consequences: just weeks after the call,
   Cruz went on precisely the sort of shooting rampage the tipster had warned he would, killing
   seventeen people and injuring seventeen others at Marjory Stoneman Douglas High School. But
   perhaps the most unique feature of this case is what the FBI said about its role, with remarkable
   candor, in the aftermath of the tragedy. In a series of public admissions—unprecedented, as far as
   we are aware, in the history of the FBI—the agency acknowledged its failures. The FBI admitted
   that PAL employees made terrible mistakes in violation of agency protocols, and that the tragedy
   would not have occurred if those mistakes had not been made. No prior federal tort case has
   involved such direct and immediate admissions of wrongdoing, breach of protocol, and causation.
             On the other hand, this case bears the markings of an ordinary tort case. Outside the realm
   of federal tort claims, it is the sort of negligence case that proceeds against private actors with
   regularity, both in Florida and elsewhere. It is hornbook tort law that one who undertakes to warn
   the public of a danger and thereby engenders reliance must perform his good Samaritan task in a
   careful manner. The FBI decided to create and operate the PAL to process and transmit crucial
   information about imminent threats to FBI field offices for investigation. The establishment of the
   PAL engendered reliance—and did engender reliance here—on the PAL’s operation as the
   country’s principal intake system for information about threats of terrorism and mass shootings.
   Once the government made the decision to establish the PAL, it was obligated to operate the
   service in a non-negligent fashion. If a private entity had undertaken that task—and if it had
   bungled that undertaking as the PAL did here—it would surely be liable under Florida law.

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   One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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             In enacting the Federal Tort Claims Act, Congress’s “broad and just purpose” was “to
   compensate the victims of negligence in the conduct of governmental activities in circumstances
   like unto those in which a private person would be liable[.]” Indian Towing Co. v. United States,
   350 U.S. 61, 68 (1955). The FTCA was not hastily created. It was the culmination of more than
   thirty years of debate and discussion in Congress. It was drawn with numerous substantive
   limitations and administrative safeguards. But it did not immunize the government from the same
   standards of duty and care applied to private individuals. Quite the opposite. Under the FTCA and
   the Supreme Court cases interpreting it, the fortuity that the customer service representative at the
   PAL who negligently processed the tip was employed by the government, rather than by a private
   entity, is immaterial to the duty inquiry. Therefore, the question before the Court is
   straightforward: whether a private person acting as the FBI did in this instance owed a cognizable
   duty under Florida law. Well-settled principles of tort law clearly hold that the answer is yes.
             The government attempts to obscure and distract from that key inquiry—relying on
   doctrines that do not apply in FTCA cases and invoking standards that Florida courts have never
   adopted. To set the record straight on a few of these obfuscations: this is not a case about the duties
   that law enforcement agencies owe under state law; the public duty doctrine does not apply in
   FTCA cases; and no Florida case has ever held that the third-party undertaking doctrine requires a
   showing that the defendant affirmatively sought to provide a service to a specific individual.
   Equally unpersuasive is the government’s vision of dire consequences for federal law enforcement
   if the courthouse doors were open to this lawsuit. This case does not allege that the FBI owes a
   duty to the general public to investigate every tip or prevent every tragedy; rather, this case is about
   a unique and unprecedented tragedy in which the PAL’s negligence deprived the FBI’s capable
   agents and analysts of the opportunity to do their job. Moreover, in nearly every FTCA case—
   when the government operates lighthouses, fights fires, manufactures deadly substances, and
   conducts CIA sting operations—the government warns of the consequences of imposing a tort
   duty on it. But courts routinely reject these arguments, recognizing that there is no justification to
   read exemptions into the FTCA beyond those provided by Congress. Plaintiffs have adequately
   pled that a private citizen can owe a duty of care in similar circumstances under Florida law. No
   amount of sophistric reliance on inapplicable doctrines or parading of horribles may shield a
   federal actor from that same duty. The government’s motion should be denied.



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                                                   FACTUAL BACKGROUND
             Rather than recount the detailed facts of this case, Plaintiffs refer the Court to the
   allegations in the Complaint, and summarize the essential facts as follows. Prior to 2012,
   concerned citizens with information about potential threats to life could directly contact their local
   FBI field office, and could even speak directly with FBI agents and analysts. Compl. ¶ 20. In 2012,
   the FBI upended this system, and replaced it with the PAL. Id. ¶ 21. The FBI set up the PAL to
   serve as a centralized system for receiving and relaying tips received from the public. In so doing,
   the PAL undertook to serve as the nation’s core hub, repository, and distribution point for tips
   about potential threats to life, including mass shootings and school shootings. Id. ¶¶ 23–33.
             The PAL also specifically undertook to serve as the intake system and repository for the
   tip about Nikolas Cruz relayed by a concerned caller on January 5, 2018. Id. ¶¶ 40–55. This tip
   was extremely urgent and highly specific, both about the likelihood that Cruz would soon try to
   hurt or kill others, and about Cruz’s likely target: his former high school in Parkland, Florida. Id.
   ¶ 55. In reliance on the PAL’s undertaking to get the information into the right hands—and assured
   that the PAL would in fact do so—the caller explicitly forewent other efforts she had considered,
   such as contacting the Department of Homeland Security. Id. ¶¶ 56–64.
             But the PAL did not, in fact, get the information to the right hands. The January 5 tip never
   reached the FBI’s agents and analysts, including those at the Miami Field Office. These agents and
   analysts were therefore never able to assess, investigate, mitigate, or prevent the threat. And on
   February 14, 2018, Nikolas Cruz shot and killed Plaintiffs’ decedents at Marjory Stoneman
   Douglas High School. Id. ¶¶ 83–91. After the shooting, the FBI made a series of extraordinary
   admissions. FBI officials told victims’ families as well as the public that PAL failed to follow
   established protocols in handling the information received on January 5. The FBI also said that
   had the tip reached the Miami Field Office—the very place the tip would have gone directly had
   the PAL not been created—“appropriate investigative steps would have been taken.” Id. ¶¶ 121–
   62. And in the days after the shooting, the FBI also admitted to Mr. Guttenberg that were it not for
   the mistakes the FBI made, his daughter would still be alive. Id. ¶¶ 124–127.
                                                               ARGUMENT
   I.        Under the FTCA, the government has the same duties as a private person in like
             circumstances.
             Two related sections of the FTCA specify that the tort duties imposed on the United States
   are those that would be imposed on a private person under state law. The first is 28 U.S.C. §
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   One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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   1346(b), which imposes liability on the government “under circumstances where the United States,
   if a private person, would be liable to the claimant in accordance with the law of the place where
   the act or omission occurred.” The other is § 2674, which says that the United States is liable “in
   the same manner and to the same extent as a private individual under like circumstances.”
             A trilogy of Supreme Court cases—Indian Towing, Rayonier, and Olson—explain that for
   purposes of the duty inquiry in FTCA cases, courts must find “private person analogies” for
   government tasks. In doing so, courts must ignore the special role of government because, while
   other doctrines, such as the discretionary function exception, serve as substantive and
   administrative safeguards to governmental liability in FTCA cases, the duty element does not. The
   government therefore cannot escape liability by arguing that its employees were engaging in
   “uniquely governmental functions,” which private citizens do not perform. The duties owed by
   federal employees—even for acts performed only by the government—are as broad as those owed
   by private individuals in similar circumstances. And because the relevant comparison is to private
   persons or entities, not state or municipal entities, courts cannot superimpose additional limitations
   on liability that states may afford their own state or municipal employees under state law.
             The cornerstone of the Supreme Court’s jurisprudence on the issue of duty and the private-
   person analog is Indian Towing Co. v. United States, 350 U.S. 61 (1955). The facts are
   straightforward. The plaintiff’s tugboat went aground after a lighthouse operated by the Coast
   Guard ran out of power. The plaintiffs brought a negligence claim against the United States under
   the FTCA for the Coast Guard’s failure to maintain the lighthouse in working order. Id. Because
   only the Coast Guard operated lighthouses, the government argued that this function was “uniquely
   governmental” and that no private analog existed. Id. at 64. But the Court rejected this argument
   on the ground that “all Government activity is inescapably ‘uniquely governmental,’” and it
   observed that the statutory phrase “under like circumstances” does not mean “under the same
   circumstances.” Id. The Court concluded that the relevant private analog was the duty imposed on
   the private “good Samaritan”: “it is hornbook tort law that one who undertakes to warn the public
   of danger and thereby induces reliance must perform his ‘good Samaritan’ task in a careful
   manner.” Id. at 64–65. “The Coast Guard need not undertake the lighthouse service. But once it
   exercised its discretion to operate the light and engendered reliance on the guidance afforded by
   the light, it was obligated to use due care to make certain that the light was kept in good working
   order . . . .” Id.

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             In Rayonier Inc. v. United States, 352 U.S. 315 (1957), the plaintiffs alleged that their
   property was damaged by the U.S. Forest Service’s negligent failure to control a forest fire. The
   government argued that there was no private analog because the state of Washington did not
   “impose liability on municipal or other local governments for the negligence of their agents acting
   in the ‘uniquely governmental’ capacity of public firemen.” Id. at 318–19. The Court rejected the
   government’s argument, reasoning that the relevant consideration is whether state law would
   impose liability on a “private person” rather than on a “municipal corporation or other public body”
   for “similar negligence.” Id. at 319. Relying on the plain text of the Act, the Court also rebuffed
   the government’s “warn[ing] that if it is held responsible for the negligence of Forest Service
   firemen, a heavy burden may be imposed . . . [because] a fire may destroy hundreds of square
   miles of forests and even burn entire communities.” Id. at 320. The Court reasoned that “after long
   consideration, Congress, believing it to be in the best interest of the nation, saw fit to impose such
   liability on the United States in the Tort Claims Act,” and thus “[t]here is no justification for this
   Court to read exemptions into the Act beyond those provided by Congress.” Id.
             Most recently, in a unanimous opinion in United States v. Olson, 546 U.S. 43 (2005), the
   Court reaffirmed the principles recognized in Indian Towing and its progeny. The case was brought
   by injured mine workers who claimed that the negligence of federal mine inspectors brought about
   a serious accident at an Arizona mine. The Ninth Circuit failed to find a private-sector analog for
   mine inspections; instead, it considered a state public-sector analog and held that liability attached
   to the federal government because Arizona law would make “state and municipal entities” liable
   in the circumstances alleged. The Supreme Court held that the Ninth Circuit was wrong on both
   scores. First, the Ninth Circuit erred in failing to find a private-sector analog for mine inspections.
   The Court reiterated its reasoning in Indian Towing that “the words ‘like circumstances’ do not
   restrict a court’s inquiry to the same circumstances, but require it to look further afield.” Id. at 46.
             Second, the Ninth Circuit erred when it looked to a public-sector analog—i.e., by imposing
   on the federal government the same tort duties Arizona imposes upon its own state and municipal
   employees. Relying on Indian Towing and Rayonier, the Court gave a goose-and-gander rationale:
   “even though both these cases involved Government efforts to escape liability by pointing to the
   absence of municipal entity liability, we are unaware of any reason for treating differently a
   plaintiff’s efforts to base liability solely upon the fact that a State would impose liability upon a
   municipal (or other state governmental) entity.” Id. at 46 (emphasis in original).

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   One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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             Because the Ninth Circuit in Olson had attempted to expand the scope of liability to match
   that of municipal actors, the government, unsurprisingly, took the position that its liability should
   match that of a private person, not anything more. At the Supreme Court argument, the government
   described the lower court’s error: “instead of applying private-person principles of liability, the
   Ninth Circuit looked to the state and governmental-entity principles of liability.”1 The Supreme
   Court justices were especially curious about the application of the principle in the law enforcement
   context, asking counsel for the United States, “So, even with the police officer, I have to find a
   private analog[?],” to which the government replied, “Yes, you do.” When Chief Justice Roberts
   asked counsel for the United States to “[g]ive me an example where you think there’s no private-
   person analog,” she did not provide one. Instead, she explained, “Well, Mr. Chief Justice, we think
   it’s often rare that there is no private-person analog, given this Court’s decision in Indian Towing,
   which stresses -- that one should look to a private person in like circumstances.” The Court agreed.
   In its unanimous opinion, the Court instructed the Ninth Circuit, on remand, to find a private person
   analogy like the one described in Indian Towing. See Olson, 546 U.S. at 47.
             Despite the preeminence of the Indian Towing trilogy, the government’s brief fails to
   mention any of these cases. Instead, the government misrepresents the applicable analysis in at
   least three ways. First, it wrongly suggests that the question before this Court is “whether a private
   person analog exists.” Mot. at 3 (citing Lawrence v. Dunbar, 919 F.2d 1525 (11th Cir. 1990)).
   That is not the inquiry. Supreme Court precedent requires this Court to find a private person
   analogy. See Olson, 546 U.S. at 46 (explaining that where there is no identical private-person
   analogy, the FTCA “require[s] [courts] to look further afield”); Zelaya v. U.S., 781 F.3d 1315,
   1324 (11th Cir. 2015) (“Notwithstanding the[ ] conceptual difficulties” of finding a private person
   analog, the FTCA mandates a private-person analysis). Second, and relatedly, the government fails
   to meaningfully engage in a private person analysis. The Plaintiffs’ Complaint gave a
   nonexhaustive list of over a dozen examples of applicable private person analogs, and the
   government failed to confront any of them. Third, the government obfuscates by relying primarily
   on the inapplicable “public duty doctrine,” which limits the liability of state governmental actors,
   not private individuals and entities.




   1
            See Transcript of Oral Argument at 3–6, U.S. v. Olson, 546 U.S. 43 (2005) (No. 04-759) (available at
   https://www.supremecourt.gov/oral_arguments/argument_transcripts/2005/04-759.pdf).
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   II.       The government’s motion relies on the public duty doctrine, defying the Supreme
             Court’s FTCA jurisprudence and contradicting its litigation position in Olson.
             In defiance of clear Supreme Court precedent, the government’s primary argument is that
   this Court should apply Florida’s public duty doctrine. This doctrine limits the tort duties of state
   governmental entities, not private ones. See Wallace v. Dean, 3 So. 3d 1035, 1045 (Fla. 2009)
   (“[T]he public duty doctrine . . . relate[s] exclusively to the question of whether the government
   owes a duty of care to the individual plaintiff or group of plaintiffs as opposed to the general
   public[.]”) (emphasis added).
             Florida’s public duty doctrine undergirds the government’s entire brief.2 But as the
   government must surely know, a state’s public duty doctrine does not apply in FTCA cases. Not
   only is the government’s position foreclosed by Supreme Court precedent, but it is also directly at
   odds with what the government represented to the U.S. Supreme Court in Olson: that state
   doctrines of governmental liability are inapplicable in FTCA cases, and that for purposes of the
   duty inquiry, courts must find a private-person analog. The government has tried to raise the
   public-duty defense at least twice since Olson. And both times, it has failed. See Lumsden v. U.S.,
   555 F. Supp. 2d 580, 594–95 (E.D.N.C. 2008) (North Carolina’s “‘public duty’ doctrine has no
   application to an FTCA action” because liability of state or local law enforcement officers “is
   irrelevant under the Federal Tort Claims Act”); White v. U.S., 2014 WL 4782855, at *25 (D.S.D.
   Sept. 24, 2014) (same for South Dakota’s public duty doctrine). This case should be no different.
   III.      The PAL owed Plaintiffs’ decedents a duty under the undertaking doctrine.
             Although there is generally no duty to prevent the misconduct of third parties, under
   Florida law such a duty can arise under any of several exceptions. See, e.g., Vazquez v. Lago
   Grande Homeowners Ass’n, 900 So. 2d 587, 593 (Fla. 3d DCA 2004) (collecting cases). Plaintiffs
   have sufficiently alleged several of these exceptions here: the undertaking doctrine, the zone of
   risk doctrine, and duties arising from mandatory internal protocols.
             The FBI’s first duty in this case arises under the undertaking doctrine. See, e.g., Compl. ¶¶
   60, 165–73 (alleging undertaking). It is well-settled that “[w]henever one undertakes to provide a
   service to others . . . [the undertaker] thereby assumes a duty to act carefully and not put others at


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            See, e.g., Mot. at 6, 10, 11, 14 (citing Trianon Park Condo. Ass’n, Inc. v. City of Hialeah, 468 So. 2d 912,
   918 (Fla. 1985) (Florida’s seminal public duty case); Pierre v. Jenne, 795 So. 2d 1062 (Fla. 4th DCA 2001) (public
   duty case); Greer v. Ivey, 242 F. Supp. 3d 1284 (M.D. Fla. 2017) (a case arising under 42 U.S.C. § 1983, not the
   FTCA, and decided on public duty grounds); Manfre v. Shinkle, 184 So. 3d 641 (Fla. 5th DCA 2016) (same).
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   undue risk of harm.” Clay Elec. Co-op., Inc. v. Johnson, 873 So. 2d 1182, 1186 (Fla. 2003).
   Undertakings can give rise to duties to the direct recipient of the undertaking, as well as to third
   parties. With regard to duties to third parties, Florida law expressly follows the standard set out in
   Section 324A of the Restatement (Second) of Torts. See id. It provides:
                  One who undertakes, gratuitously or for consideration, to render services to
                  another which he should recognize as necessary for the protection of a third
                  person or his things, is subject to liability to the third person for physical harm
                  resulting from his failure to exercise reasonable care to protect his
                  undertaking, if
                    (a) his failure to exercise reasonable care increases the risk of such harm,
                        or
                    (b) he has undertaken to perform a duty owed by the other to the third
                        person, or
                    (c) the harm is suffered because of reliance of the other or the third person
                        on the undertaking.
             Florida is just one of many jurisdictions that follow the Second Restatement approach.
   Accordingly, courts in FTCA cases routinely find cognizable duties arising in a wide variety of
   undertakings. See, e.g., Indian Towing, 350 U.S. at 65 (operation of a lighthouse); Sowell v. U.S.,
   835 F.2d 1133 (5th Cir. 1988) (processing of allotment forms); Neal v. Bergland, 646 F.2d 1178
   (6th Cir. 1981), aff’d sub nom. Block v. Neal, 460 U.S. 289 (1983) (supervision of construction of
   prefabricated home); Merklin v. U.S., 788 F.2d 172 (3d Cir. 1986) (warning about radioactive
   materials); Cross Bros. Meat Packers, Inc. v. U.S., 705 F.2d 682 (2d Cir. 1983) (grading meat for
   quality); Appley Bros. v. U.S., 7 F.3d 720 (8th Cir. 1993) (inspection of grain warehouse).
             A.         Plaintiffs have satisfied the elements for an undertaking duty under § 324A.
             In essence, Section 324A provides that an undertaker may be liable in tort if two essential
   elements are met. The first element is an undertaking to “render services to another, which [the
   undertaker] should recognize as necessary for the protection of a third person[.]” The second
   element is physical harm to a third person resulting from the undertaker’s failure to exercise
   reasonable care. This second element can be satisfied in one of three ways: the undertaker’s
   negligence increases the risk of harm, the undertaker performs a duty owed by the “other” to the
   third person, and/or the “other” relies on the undertaking in a way that contributes to the harm.
                        1.         The PAL undertook to render services to others including but not limited
                                   to the January 5 caller.
             As alleged in the Complaint, the FBI undertook to render services to the public, and
   specifically to the January 5 caller. Namely, the PAL undertook to serve as the central repository

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    and conduit for information regarding potential threats to life, and to handle and relay that
    information to the agency’s agents and analysts. See Compl. ¶¶ 23–33, 166, 173, 178. The
    government does not appear to dispute, nor can it reasonably dispute, that the FBI engaged in this
    conduct or that this conduct amounted to an “undertaking.” Indeed, in Florida and other
    jurisdictions that follow the Restatement, the fact of the “undertaking” itself is rarely in dispute.
    See, e.g., Indian Towing, 350 U.S. at 65 (undertaking was the government’s operation of a
    lighthouse). Nor can it reasonably be disputed that this undertaking was to provide services “to
    another,” or more precisely to “others,” including in this instance the January 5 caller.
              Moreover, the PAL’s undertaking was explicitly and unmistakably “for the protection of .
    . . third person[s].” The FBI expressly set up the PAL as a service for the public to provide
    information about the types of threats the FBI is responsible for investigating, including threats of
    terrorism and violent crime. See Compl. ¶¶ 21–33. Therefore, the creation and operation of the
    PAL clearly meets the “undertaking” element of § 324A. The FBI “need not undertake the [PAL]
    service,” but having done so, “it was obligated to use due care” in the undertaking. Indian Towing,
    350 U.S. at 69. See also DeLong v. Erie Cnty., 457 N.E.2d 717, 721 (N.Y. 1983) (having
    centralized its 911 call-routing system and thus “provide[d] a special emergency service,” city
    owed duty to operate system in non-negligent way).
              To the limited extent that the government addresses the “undertaking” element of § 324A,
    it appears to argue that the “services [rendered] to another” under § 324A must be “affirmative
    and specific.” Mot. at 12. But this is not the standard in Florida law, and the government cites to
    no case articulating such a standard. Even if this were the standard, the Complaint satisfies it. By
    creating the PAL, the FBI rendered a service no less affirmative and specific than the Coast
    Guard’s establishment of a lighthouse, see Indian Towing, 350 U.S. at 64, namely the service of
    operating as the central repository for information about threats including school shootings.
    Indeed, courts in Florida and elsewhere have recognized undertakings under similar factual
    circumstances, even in cases where the defendant is a municipal governmental actor.3


    3
              See, e.g., St. George v. City of Deerfield Beach, 568 So. 2d 931 (Fla. 4th DCA 1990) (duty could arise where
    911 operator mishandled emergency call and failed to dispatch police officers to scene); DeLong, 457 N.E.2d at 721
    (establishment of central 911 call-routing system gave rise to duty to 911 caller who was the victim of a burglary);
    City of Kotzebue v. McLean, 702 P.2d 1309 (Alaska 1985) (police officer who received 911 call from someone
    threatening to kill third person, but took twelve minutes to respond to the call, owed duty to third-party victim); Austin
    v. City of Scottsdale, 684 P.2d 151, 154 (Ariz. 1984) (duty could arise where police department failed to follow internal
    procedures for handling 911 calls, police took no action on threat to life, and plaintiff’s decedent was stabbed).
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              The government also suggests that, in order for the undertaking doctrine to apply, the FBI
    need have “sought to provide a service to the specific individuals who were injured or killed by
    Nikolas Cruz[.]” Mot. at 13 (emphasis added). This is incorrect in at least two ways. First, § 324A
    addresses scenarios in which someone undertakes to provide services to one person (here, the
    callers to the PAL), which he should recognize as necessary for the protection of third persons
    (here, the victims of the shooting). Therefore, it is simply not necessary for the PAL to have
    undertaken to provide services to the victims of the shooting.4
              Second, contrary to the government’s suggestion, there is no requirement that the third
    persons be “specific individuals” or be known to the undertaker. This is yet another standard that
    the government invokes, but which has no basis in Florida law.5 It is well-established in Florida
    that an undertaker can owe a duty to third parties that are unknown or unidentifiable at the time of
    the undertaking. “The voluntary undertaking doctrine simply stands for the proposition that one
    who undertakes to act, even when under no obligation to do so, thereby becomes obligated to act
    with reasonable care. The undertaking of such an act foreseeably broadens the zone of risk to
    include unidentified third parties.” Dent v. Dennis Pharm., Inc., 924 So. 2d 927, 929 (Fla. 3d DCA
    2006) (emphasis added, quotation marks omitted). See also, e.g., Kowkabany v. Home Depot, 606
    So. 2d 716 (Fla. 1st DCA 1992) (defendant who undertook to load timbers into vehicle owed duty
    to bicyclist struck by timbers protruding from vehicle window); U.S. v. Stevens, 994 So. 2d 1062,
    1069–70 (Fla. 2008) (in a Florida-law FTCA case, government laboratory owed a duty of
    reasonable care “to members of the general public” to avoid an unauthorized release of anthrax).
              The same is true in other jurisdictions following the Second Restatement. See, e.g.,
    DiMarco v. Lynch Homes–Chester Cnty., Inc., 583 A.2d 422 (Pa. 1990) (where physician treats
    patient with contagious disease, physician owes duty to third parties to correctly inform patient
    about the contagious nature of the disease); Kuehl v. Horner Lumber Co., 678 N.W. 809, 813 (S.D.
    2004) (en banc) (lumber yard employees who loaded lumber onto customer’s trailer owed duty
    under § 324A to third-party driver injured on the highway when lumber fell off the trailer).


    4
             Indeed, such undertakings are legally distinct from § 324A undertakings, and thus addressed in a separate
    section of the Restatement. See Restatement (Second) of Torts § 323.
    5
             Here, as elsewhere in its brief, government seems to be relying on Florida’s public-duty doctrine. It argued
    that because “the creation of PAL and other ‘public outreach efforts’ are services rendered to the general public for
    purposes of law enforcement and public safety,” “[t]hese are not services rendered ‘to another’ as required by
    Restatement § 324A.” Mot. at 12 (citing 911 operator and other public duty cases). But the Restatement has no
    exception for services rendered for public safety purposes, and the public duty limitation does not apply.
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              Even if Florida law required that the third persons for purposes of § 324A undertakings be
    specifically identifiable—and it does not—the facts of this case satisfy that novel requirement.
    Here, the PAL specifically undertook to handle a threat whose specific target was the students and
    teachers at Marjory Stoneman Douglas High School. The January 5 caller made clear to the PAL
    employee that Cruz had exhibited violence at school before and expressed specific concern that he
    would go to a school and “shoot the place up.” Compl. ¶ 55. Moreover, the caller’s concerns were
    corroborated by abundant and readily available indications that the School was the likely target of
    Cruz’s violent proclivities. See, e.g., Compl. ¶¶ 35, 78–82.
                         2.         The January 5 caller relied on the PAL’s undertaking.
              As noted above, the second element of § 324A can be satisfied in any one of three ways.
    Here, Plaintiffs have alleged two of those three: reliance, and increasing the risk of harm. First,
    Plaintiffs allege that the public and specifically the January 5 caller relied on the PAL’s
    undertaking to serve as the central repository and conduit of information concerning threats of
    mass shootings and school shootings. See, e.g., Compl. ¶ 60–64,166, 168–69. The caller knew that
    Cruz posed an imminent and grave threat to human life. Specifically, she was concerned that Cruz
    would perpetrate a mass shooting at his former school. When she called the PAL, her objective
    was to get this information into the right hands. And after speaking to the PAL, she was assured
    that this information would find its way to capable agents who could evaluate it and determine
    whether the threat posed by Cruz merited intervention. See id. ¶ 59.
              The government contends that the Complaint’s allegations of reliance are insufficient,
    disparaging them as “speculative” and “conclusory.” Mot. at 16, 17.6 Given that the government
    characterizes its motion as a “facial” attack on the Complaint, this argument is perplexing and,
    indeed, inappropriate: a plaintiff’s factual allegations must be accepted as true.7 The Complaint
    alleges that the tipster relied on the PAL. The government says that the tipster did not. That is a
    factual dispute, properly left to the trier of fact. But even if Plaintiffs were required to buttress their


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              Indeed, the government’s characterizations of these allegations border on accusing the Plaintiffs of acting in
    bad faith, since all allegations must have a good-faith basis. See Mot. at 16 (characterizing the allegations as “a clear
    effort to raise a factual issue requiring discovery”). Ironically, the government’s accusation is itself mere speculation
    about Plaintiffs counsel’s pre-suit efforts and investigation.
    7
              At this stage of the litigation, this Court cannot conclude that the January 5 caller did not rely on the PAL’s
    undertaking, not only because that is a question of fact, but also because it is a question that is properly reserved for
    the merits stage of the litigation. See Eaton v. Dorchester Development Inc., 692 F.2d 727, 733–34 (11th Cir. 1982)
    (dismissal for lack of duty on 12(b)(1) motions is inappropriate “when the basis for jurisdiction is also an element of
    plaintiffs’ cause of action on the merits” and when “subject matter jurisdiction is . . . a question of fact”).
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    allegations with additional evidence on a motion to dismiss—which they are not—the Complaint’s
    allegations of reliance have ample evidentiary support, chiefly the transcript of the January 5 call
    itself and the fact that the tipster made no further outreach to any law enforcement agency between
    January 5 and February 14. And even were the Rules of Civil Procedure to cease to exist, Plaintiffs
    would have more than a good-faith basis to believe the allegation will bear out in discovery: the
    tipster herself told undersigned Plaintiffs’ counsel that, following her call, she relied on the PAL’s
    undertaking and rested easy, forgoing further actions to contact law enforcement or otherwise
    mitigate the threat posed by Cruz.
              Second, the government yet again simply misstates the applicable legal standard by
    suggesting that the Restatement requires the PAL to have “induced reasonable reliance by the
    caller.” Mot. at 16 (emphasis added). Even if the undertaking doctrine required some affirmative
    inducement—a proposition for which the government provides no authority—the caselaw is clear
    that the undertaking itself can satisfy the requisite inducement. See, e.g., Indian Towing Co., 350
    U.S. at 64 (duty arose from maintenance of a lighthouse, with no additional affirmative
    inducement). Moreover, in Florida, and in most other states applying the Restatement, reasonable
    reliance is not required. See Wallace, 3 So. 3d at 1058 (Wells, J., dissenting) (arguing, in dissent,
    that “[r]easonable reliance” should be the standard in Florida).
              Even if reasonable reliance were required, here the January 5 caller’s reliance was
    reasonable, indeed more reasonable than the caller’s reliance in Wallace. In Wallace, a 911 caller
    relied not on the police officer’s relevant undertaking—to check on a nonresponsive neighbor—
    but rather on the police officer’s medical judgment that the neighbor did not require immediate
    medical care. Id. (Wells, J., dissenting) (“it [was] unreasonable for the plaintiff to have relied on
    the medical expertise of any of [the officers]”). Here, the January 5 caller relied directly on the
    PAL’s undertaking to appropriately relay the tip to the FBI’s capable analysts and agents.8
                         3.         The PAL increased the risk to Plaintiffs’ decedents.
              The PAL’s undertaking also contributed to the harm suffered by Plaintiffs’ decedents by
    increasing the risk of such harm. Jurisdictions differ in their approach to the “increase the risk”
    variant of § 324A undertakings. The government cites to cases applying Georgia law, which hold



    8
             The government attempts to distinguish Wallace, apparently on the ground that representations made in a
    911 call cannot give rise to reliance under § 324A. But that is not what Wallace held. And courts in Florida and
    elsewhere have reached the opposite conclusion. See n.4, supra.
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    that “a risk is only increased when a nonhazardous condition is made hazardous through the
    negligence of a person who changed its condition or caused it to be changed.” Howell v. U.S., 932
    F.2d 915, 919 (11th Cir. 1991) (quotation marks omitted). But even Georgia courts “reject [the]
    contention that only affirmative acts, as opposed to mere omissions, can give rise to liability to
    third parties.” Urban Servs. Grp. v. Royal Grp., 671 S.E.2d 838, 840 (Ga. Ct. App. 2008)
    (defendant’s failure to inspect sidewalks for ice increased risk that pedestrian would slip and fall).
              More importantly, the law at issue here is that of Florida. And in Florida, when someone
    relies on the defendant’s undertaking such that she foregoes steps to mitigate the risk to third
    parties, that reliance—without more—can satisfy the “increase the risk” variant of § 324A. See,
    e.g., Wallace, 3 So. 3d at 1052; U.S. v. Gavagan, 280 F.2d 319, 328 (5th Cir. 1960). Moreover,
    Florida, unlike Georgia, recognizes an increased risk of harm even where the hazardous condition
    existed prior to or independent of the undertaking. See, e.g., City of Jacksonville v. Fla. First Nat.
    Bank of Jacksonville, 310 So. 2d 19 (Fla. 5th DCA 1975), cert. denied, 339 So. 2d 632 (Fla. 1976)
    (city held liable for negligent failure of its police to protect children from abuse by violent-prone
    parent). The same is true in many other jurisdictions following the Second Restatement.9
              Here, the FBI’s undertaking to create the PAL and to operate the PAL as the nation’s
    central repository for tips about threats to life increased the risk of harm to Plaintiffs’ decedents in
    at least two ways. First, as detailed above, the January 5 caller relied on the PAL’s undertaking
    and therefore forewent additional steps that would have mitigated or prevented the harm to
    Plaintiffs’ decedents. This fact alone satisfies § 324A under Wallace.10 Second, had the FBI not
    undertaken to create the PAL to function as the central repository for receiving and conveying
    threats about the public, callers would still have been able to directly contact their local field office


    9
              See, e.g., Shipe v. Chesapeake Bay Fishing Parties, Inc., 940 F. Supp. 130, 135 (D. Md. 1996) (duty could
    arise where insurer failed to inform boat operator that boat was in unseaworthy condition); Mukhtar v. Latin Am. Sec.
    Serv., 139 Cal. Rptr. 3d 563, 566–67 (Cal. Ct. App. 4th 2006) (security service’s failure to furnish guard at convenience
    store could increase risk that cashier would be attacked by patrons); Regions Bank v. Joyce Meyer Ministries, Inc., 15
    N.E. 3d 545 (Ill. Ct. App. 2014) (defendant who undertook to investigate death threats directed at plaintiffs’ decedents,
    increased the danger to them); Ironwood Springs Christian Ranch, Inc. v. Walk to Emmaus, 801 N.W.2d 193 (Minn.
    Ct. App. 2011) (defendant’s undertaking to attend to ice on the ground increased risk of slip-and-fall by causing others
    to forego salting or chopping ice themselves); Sabia v. State, 669 A.2d 1187, 1194 (Vt. 1995) (agency, which was
    aware of father’s sexual abuse of his daughters but failed to assist them, increased the risk of harm); Burns v. Gagnon,
    727 S.E.2d 634, 644 (Va. 2012) (defendant vice principal, who was warned that student would be involved in a fight
    but failed to prevent it, could be found to have increased risk of harm to injured classmate).
    10
              See Restatement (Second) of Torts § 324A cmt. e (where one “forgo[es] other remedies or precautions” in
    reliance on the undertaker, “the harm results from the negligence as fully as if [the undertaker] had created the risk”).


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    concerning threats to human life. See Compl. ¶¶ 20–21 (explaining the FBI’s transition to the PAL
    system). In other words, had the PAL not been created, the January 5 caller would have been able
    to directly provide information to the Miami Field Office. And had the FBI’s Miami-based agents
    received this information, they would have taken appropriate investigative steps. Indeed, the FBI
    admitted as much in a public statement. See Compl. ¶ 181–83. The government has not denied as
    much in its motion to dismiss, or indeed at any point in this litigation.
              B.         Wallace v. Dean supports the Plaintiffs’ position.
              The Florida Supreme Court’s decision and analysis in Wallace merits specific attention,
    because the government relies on this case extensively in its motion. Far from supporting the
    government’s argument, Wallace undermines it. At the outset, we note that Wallace is a Florida
    case about the tort liability of local police officers. See 3 So. 3d at 1047. Therefore, the Court
    considered the public duty doctrine and other factors limiting the officers’ duties toward the
    decedent. Of course, these considerations protect only state governmental actors, and are therefore
    inapposite to the FTCA duty inquiry. In other words, the duties owed by the federal government
    under the FTCA are broader than duties recognized in public duty cases such as Wallace.11
              Despite these restrictions, the Wallace Court concluded that the officers did owe a duty to
    the plaintiff’s decedent. Id. at 1052. And the Court reached this conclusion on materially similar
    facts to the facts of the instant case. In Wallace, police officers responded to a 911 call from a
    woman concerned about the wellbeing of her next-door neighbor. The officers found the neighbor
    lying in bed, utterly unresponsive. The 911 caller therefore suggested that the officers call an
    ambulance, but the officers rebuffed this request and assured the caller that this was unnecessary.
    Relying on this assurance, the 911 caller did not check on the neighbor again until the next
    morning. Although the neighbor was eventually taken to the hospital, she died several days later,
    allegedly because of the overnight delay in receiving medical attention. See id. at 1043. Here, the
    PAL employee, like the officers in Wallace, rendered services to another—here, the January 5
    caller, and in Wallace, the concerned 911 caller. In both cases, the callers relied on the undertakers’
    assurances that no further action was necessary. Tragically, in both cases, this reliance contributed
    to the harm suffered by the plaintiffs.




    11
              The same is true for other public duty cases cited throughout this brief and the government’s motion. See,
    e.g., Austin, 684 P.2d at 154; DeLong, 457 N.E.2d at 721; St. George, 568 So. 2d at 932.
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              Wallace does not stand alone. Courts in other jurisdictions, and at least one state supreme
    court, have similarly held that police officers can assume a duty under the undertaking doctrine.
    See Fochtman v. Honolulu Police & Fire Dept., 649 P.2d 1114 (Haw. 1982). In Fochtman, a
    concerned resident called 911 after noticing a flashlight beam that, in his judgment, indicated that
    someone was in trouble on a nearby ridge. Officers assured the caller that they would “check it
    out.” But they did not. In fact, they did not investigate until the following morning, and when they
    did, they found the lifeless bodies of two boys who had fallen from the top of the ridge. On these
    facts, the Hawaii Supreme Court concluded that there was a genuine issue of material fact as to
    the officers’ duty, and specifically as to whether the officers “actually worsened the situation . . .
    by preventing [the caller] from taking further steps to render aid and assistance.” Id. at 1117.
              In short, even where courts have considered the potential liability of state law enforcement
    agencies, they have concluded that such agencies can assume legally cognizable duties. The
    potential liability of federal law enforcement agencies—whose duties under the FTCA are not
    circumscribed by the public duty doctrine—are only broader. See White, 2014 WL 4782855 at *8.
    IV.       There is a duty because the Plaintiffs’ decedents were in the foreseeable zone of risk.
              A.         The “foreseeable zone of risk” inquiry is governed by McCain.
              In McCain v. Florida Power Corp., 593 So. 2d 500, 501 (Fla. 1992), the Florida Supreme
    Court expanded the concept of duty in Florida law and made foreseeability the sole determinant
    of whether a duty exists. There, the plaintiff was injured when a trencher he was operating struck
    an underground power cable. Florida Power had negligently marked the accident area as “safe.”
    After the jury returned a verdict for plaintiff, the Second District reversed and remanded for entry
    of a directed verdict for Florida Power, concluding the injury was not foreseeable.
              The Florida Supreme Court disagreed and reinstated the verdict, holding that “Florida
    Power was clearly under a duty to take reasonable actions to prevent the general type of injury that
    occurred here.” Id. at 502. The district court had improperly merged the elements of duty and
    proximate causation “into a single hybrid ‘foreseeability’ analysis.” Id. Unlike proximate
    causation, which is a factual requirement that must be proved to win the case, the duty element is
    a “minimal threshold legal requirement for opening the courthouse doors” that “focuses on whether
    the defendant’s conduct foreseeably created a broader ‘zone of risk’ that poses a general threat of
    harm to others.” Id. Therefore, a legal duty arises “whenever a human endeavor creates a
    generalized and foreseeable risk of harming others.” Id. at 503. Moreover, that duty includes the

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    obligation “to lessen the risk or take sufficient precautions to protect others from the harm that the
    risk poses,” and “as the risk grows greater, so does the duty, because the risks to be perceived
    defines the duty that must be undertaken.” Id. The court held, therefore, that Florida Power was
    under a greater-than-usual duty of care in proportion to the greater-than-usual zone of risk
    associated with its business enterprise. Id. (“Electricity has unquestioned power to kill or maim.”).
              B.         Florida case law imposes a duty to warn or protect against foreseeable
                         criminal conduct by third parties, even where there is no special relationship.
              The Florida Supreme Court has recognized that the “foreseeable zone of risk” analysis can
    encompass a duty of reasonable care to unknown members of the general public to prevent criminal
    acts of third parties. See Stevens, 994 So. 2d at 1069. The Stevens case is particularly instructive
    because it is an FTCA case in which the Court answered a certified question from the Eleventh
    Circuit on the existence of duty. In Stevens, unknown individuals mailed letters containing anthrax
    to locations in several cities, including to plaintiff Stevens’ workplace. Stevens died after inhaling
    the anthrax, and his estate sued the United States in federal court, alleging that the anthrax could
    be traced to a federal research facility. The complaint alleged that the government failed to provide
    adequate security for the handling or shipping of anthrax, and that the anthrax was stolen either in
    transit or from another facility to which the materials had been sent. The complaint did not describe
    the relationship between the government and the people who stole and mailed the anthrax.
              The United States moved to dismiss, arguing there, as it does here, that “it could not be
    liable for any third party criminal activity allegedly occasioned by negligent security practices
    because it owed no duty of protection to Stevens, a stranger, and did not have a duty or ability to
    control the unidentified third party tortfeasor or tortfeasors responsible for intercepting or mailing
    the anthrax.” Id. at 1065. It also argued there, as it does here, that the plaintiffs had alleged only
    omissions—failing to secure the anthrax—rather than affirmative acts that created a new risk. Id.
    at 1069 n.4. The federal district court rejected these arguments and denied the government’s
    motion, concluding that Stevens’ claim fell under Florida’s “foreseeable zone of risk” theory. It
    held that a reasonable laboratory operator would understand that the public would be exposed to
    an unreasonable risk of harm unless it adequately guarded against the risk, and that the third party’s
    death was a foreseeable consequence of the failure to use reasonable care in adopting and
    implementing security measures to guard dangerous materials. Id. at 1069.
              On appeal, the Eleventh Circuit issued an opinion that certified a question to the Florida
    Supreme Court, which held that a laboratory that handles ultrahazardous materials “does owe a
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    duty of reasonable care to members of the general public to avoid an unauthorized interception
    and dissemination of the materials.” Id. at 1070.12 In the opinion, the Florida Supreme Court
    “reaffirm[ed] [its] previous declarations that the ‘foreseeable zone of risk’ test discussed in
    McCain is the test to be applied under Florida law to determine whether a duty exists[.]” Id. at
    1067. It also concluded that the district court appropriately turned to Restatement §§ 302 and 302B
    “for guidance in determining whether a duty exists under Florida law.” Id. at 1068. These sections
    recognize that negligence can arise from an act or omission that involves an unreasonable risk of
    harm to another through the foreseeable action of a third party, even though the third party’s
    conduct is criminal. Ultimately, the Court agreed with the Eleventh Circuit “that the ‘complex
    factual pattern at hand’ presents a unique challenge to the courts that must ultimately be resolved
    upon the facts as developed in the trial court.” Id. at 1069. But, as in McCain, duty is a “minimal
    threshold” requirement, and Stevens’ allegations are sufficient to open the courthouse doors. See
    id. See also Faddish v. Buffalo Pumps, 881 F. Supp. 2d 1361, 1371 (S.D. Fla. 2012) (“Under the
    ‘foreseeable zone of risk’ analytical paradigm set out in McCain, a duty to warn or protect against
    criminal conduct precipitated by third persons may arise where the risk is foreseeable to defendant,
    regardless of defendant’s control over instrumentality or person causing the harm.”).13
              Here, Plaintiffs have alleged facts to meet the “minimal threshold” showing of duty under
    McCain. When the FBI created the PAL, it acted in way that created a risk: by eliminating the
    ability of concerned citizens to contact their local FBI field offices directly and rerouting these
    calls to PAL employees in West Virginia, the FBI created a risk that information about imminent
    threats would not be properly processed and transmitted to those equipped to act. See Compl. ¶¶
    20, 21. Concerned citizens—including the tipsters who warned about Cruz—rely on the PAL to
    appropriately process the information and pass it along to those who will investigate it and save
    lives. Were it not for the FBI’s creation of the PAL, the tipster would have sought assistance
    elsewhere, or would have been able to directly contact her local FBI field office. Id. ¶ 60. And by


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              Although the case involved negligent security practices regarding ultra-hazardous materials, the case was
    decided on general principles of Florida negligence law, rather than strict liability for ultra-hazardous materials. See
    id. at 1071 (Wells, J., dissenting) (lamenting that the case was not decided under strict liability principles).
    13
              Omissions can give rise to an unreasonable risk of harm to another, engendering a duty to prevent the harm.
    See, e.g., Couzado v. U.S., 105 F.3d 1389 (11th Cir. 1997) (airline crew detained in Honduras stated FTCA claim
    because it was foreseeable that the crew “could be endangered by the failure of the government to notify the Honduran
    authorities” that the plane was involved in sting operation); Herndon v. Shands Hosp., 23 So. 3d 802 (Fla. 1st DCA
    2009) (hospital owed duty to public to prevent drug theft); Borda v. East Coast Ent., Inc., 950 So. 2d 488 (Fla. 4th
    DCA 2007) (club owed duty to protect patron against risk of criminal assault created by ejection from bar).
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    failing to transmit the information about Cruz—in violation of mandatory protocols—the PAL
    made plaintiffs’ position worse. See Gavagan, 280 F.2d at 328 (harm was increased where
    bystanders did not take action because they relied on Coast Guard’s celebrated skill).
    V.        The FBI’s adoption of mandatory directives establishes a duty of care.
              In Florida, internal protocols that have been adopted as “standards of conduct” give rise to
    an “independent duty of care” upon which a claim of negligence can be predicated. See Pollock v.
    Fla. DHP, 882 So. 2d 928, 937 (Fla. 2004); see also City of Jacksonville v. DeRay, 418 So. 2d
    1035, 1037 (Fla. 1st DCA 1982) (“scrutiniz[ing] the portions of the Manual introduced at trial and
    included in the record” to determine whether city “was in compliance with the mandatory
    provisions,” and thus, whether it had breached duty of care). The Complaint alleges that the FBI
    had “a duty to comply with mandatory directives” governing how information on school shootings
    and other threats was to be handled,” and that the FBI “adopted those procedures as the standard
    of conduct.” Compl. ¶ 176. Specifically, the PAL had a duty under established protocols to, among
    other things, forward the information received to the Miami Field Office, to law enforcement in
    Parkland, and to Cruz’s foreseeable targets—the students and teachers at Marjory Stoneman
    Douglas. See id. ¶ 178. The assumption of these mandatory obligations created a duty of care. See
    Moody v. U.S., 774 F.2d 150, 156 (6th Cir. 1985) (“It is clear that federal regulations can create
    the duty or undertaking which state law requires to be performed with reasonable care.”) (citing
    cases); Florence v. Goldberg, 375 N.E.2d 763, 767 (N.Y. 1978) (adoption of rules relating to
    provision of crossing guards evidenced that police assumed duty to supervise school crossings).
    VI.       The government’s arguments are inapposite.
              Much of the government’s motion is devoted to topics that are immaterial. When the brief
    is not citing public duty cases, it is addressing theories of liability—from premises liability to a
    general duty to stop crime—that Plaintiffs neither invoke nor allege. As detailed above, the
    government’s motion puzzlingly invokes the public duty doctrine, which shields state
    governmental entities from tort liability. But that doctrine is simply irrelevant to the duty question
    that is presently before the court. See, e.g., Indian Towing, 350 U.S. at 65 (the FTCA is “not self-
    defeating by covertly embedding the casuistries of municipal liability for torts”).14


    14
              Even if Florida’s public duty doctrine applied—and it does not—Plaintiffs have alleged a recognized
    exception to the doctrine. Specifically, Plaintiffs alleged that the FBI owed the victims of the Parkland shooting a
    special duty to intervene. See Compl. ¶ 177. That exception applies whenever “law enforcement officers become
    directly involved in circumstances which place people within a ‘zone of risk’ by creating or permitting dangers to
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              Moreover, although the government relies extensively on Pollock and asserts that it is a
    private-person-analog case, that is only partly correct. Pollock concerned the Florida Highway
    Patrol’s (FHP) alleged negligence in failing to remove a stalled vehicle from a highway. The
    Florida Supreme Court decided Pollock on two grounds, both of which are inapplicable here. First,
    adopting Florida’s variant of a private-person-analog analysis, the Court concluded that there could
    be no “premises liability” because the FHP did not own or control Florida’s highways. 882 So. 2d
    at 933–34. But here, Plaintiffs have not alleged premises liability. Second, expressly invoking
    Florida’s public duty doctrine, the Court held that the FHP’s law enforcement role could not give
    rise to a tort duty. Id. at 935. But here, as in all FTCA cases, the public duty doctrine is inapplicable.
              Even where the government does not rely on the public duty doctrine, its arguments and
    citations are inapposite for a different reason. Namely, much of the government’s motion addresses
    theories of duty that the Plaintiffs neither alleged nor invoked. For example, contrary to the
    government’s apparent misapprehension, the Plaintiffs do not allege that the FBI had a special
    relationship with the victims of the shooting. Indeed, the government itself acknowledges that “the
    Complaint does not allege . . . a special relationship.” Mot. at 4. It is therefore perplexing that the
    government devotes roughly three pages of briefing to denying the existence of a special
    relationship. See id. at 7-10. Nor do Plaintiffs allege that the FBI, or indeed any other entity, has a
    general duty to prevent the criminal acts of another. In Florida and elsewhere, in certain
    circumstances a duty to prevent criminal acts can arise under § 324A, 302, and 302B.15
              Especially inapposite is the government’s extensive reliance on Abad v. G4S Secure
    Solutions, Inc., --- So. 3d ----, 2020 WL 1546443 (Fla. 4th DCA Apr. 1, 2020). The central issue
    on appeal in Abad was whether a security company’s negligent hiring of the eventual perpetrator
    of the Pulse nightclub shooting created a “foreseeable zone of risk to the general public.” Id. at *2
    (emphasis added). See also id. at *3 (considering whether the company “created a broader zone of


    exist . . . or otherwise subjecting them to danger.” Pollock, 882 So. 2d at 935. Here, the PAL was specifically aware
    of the imminent danger posed by Cruz and permitted this danger to exist. Accordingly, the FBI owed Cruz’s
    foreseeable victims a special duty to intervene, independent of its duties as an undertaker. Contrary to the
    government’s contentions, this duty is distinct from the “separate ‘special relationship test,’ which appears to have
    been drawn from contract law.” Wallace, 3 So. 3d at 1048.
    15
                See, e.g., Vazquez, 900 So. 2d 587, 593 (Fla. 3d DCA 2004) (a “duty to guard against crime” can be “founded
    upon particular undertakings”); Stevens, 994 So. 2d at 1069–70 (recognizing that “negligence liability may be imposed
    on the basis of affirmative acts which create an unreasonable risk of harm by creating a foreseeable opportunity for
    third party criminal conduct”); Regions Bank, 15 N.E. 3d at 549 (noting that although “[o]rdinarily” there is no such
    duty, it can arise in the context of a voluntary undertaking); Harris v. Pizza Hut of La., 455 So. 2d 1364, 1371 (La.
    1984); Martin v. McDonald’s Corp., 213 N.E. 2d 1073 (Ill. Ct. App. 1991).
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    risk to the general public and imposed a legal duty on it”); id. (addressing argument that defendant
    “created a foreseeable zone of risk to the general public that rose to a legal duty to the general
    public”) (emphasis added). But Plaintiffs have alleged neither a foreseeable zone of risk to the
    general public, nor a duty owed to the general public.
              The government also cites to LA Fitness Intern., LLC v. Mayer, 980 So. 2d 550 (Fla. 4th
    DCA 2008), for the proposition that “[a]lleging that a defendant should have acted but failed to do
    so is insufficient to establish a duty under the voluntary undertaking doctrine.” Mot. at 13. Even if
    this were an accurate description of the law, it fails as a description of this case and of Plaintiffs’
    Complaint. Plaintiffs have not merely alleged that the government “should have” done more to
    protect the victims of the Parkland shooting. Rather, Plaintiffs have specifically alleged that the
    PAL undertook to serve as the central repository and distribution mechanism for tips about threats
    to human life. This undertaking clearly gives rise to cognizable duties under Florida law.
              Moreover, LA Fitness is distinguishable in at least two crucial respects. First, in LA Fitness,
    unlike here, the plaintiff did not allege or establish that the defendant increased the risk of harm or
    that anyone relied on the defendant’s undertaking. 980 So. 2d at 561. In other words, the LA Fitness
    plaintiff simply failed to allege an essential element of a § 324A duty. Second, LA Fitness was
    decided before Wallace, which reached the opposite result on materially similar facts. In LA
    Fitness, the Fourth District Court of Appeal concluded that a private individual’s undertaking to
    check the pulse of a victim of cardiac arrest does not give rise to a duty to perform CPR if CPR is
    indicated. Whatever the merits of this conclusion, it is impossible to square with the Florida
    Supreme Court’s decision in Wallace, imposing a duty on police officers to call an ambulance after
    checking on an unresponsive neighbor.
                                                               CONCLUSION
              The question before this Court on the government’s motion to dismiss is whether a private
    person acting as the PAL did in this instance would owe a duty to Plaintiffs’ decedents under
    Florida law. Longstanding principles of tort law compel an answer in the affirmative. Although
    the PAL’s conduct and admitted failings in this case are extraordinary and unprecedented, the
    duties owed by the PAL are well-settled in Florida and elsewhere, both in the private-person
    context and even under the more restrictive analysis of public-duty cases. Plaintiffs’ allegations
    are therefore more than sufficient to overcome the government’s facial attack. Accordingly, the
    government’s motion should be denied.

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                                                     REQUEST FOR HEARING
              The Plaintiffs hereby respectfully request a hearing before this Court due to the complexity
    of the legal questions at issue, the parties’ apparently extensive disputes about the applicable legal
    standards and doctrines, and the dispositive nature of the government’s motion and its importance
    to all parties to this litigation. Plaintiffs estimate that one hour of argument, in total, will be
    sufficient.
                                                   CERTIFICATE OF SERVICE
            I hereby certify that on May 8, 2020, I electronically filed the foregoing with the Clerk of
    the Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel
    of record and any other electronic filer as of the time of the filing.

                                                                                By: /s/ Kristina M. Infante________
                                                                                Kristina M. Infante


                                                                                Respectfully submitted,

                                                                                PODHURST ORSECK P.A.
                                                                                Counsel for Frederic and Jennifer
                                                                                Guttenberg, as Co-Personal Representatives
                                                                                of the Estate of Jaime Guttenberg
                                                                                One S.E. 3rd Avenue, Suite 2300
                                                                                Miami, FL 33131
                                                                                Telephone: (305) 358-2800

                                                                                By: /s/ Kristina M. Infante________
                                                                                Kristina M. Infante
                                                                                FL Bar No: 112557
                                                                                Steven C. Marks
                                                                                FL Bar No. 516414
                                                                                Pablo Rojas
                                                                                FL Bar No. 1022427


                                                                                RENNERT VOGEL MANDLER &
                                                                                RODRIGUEZ, P.A.
                                                                                Counsel for Philip and April Schentrup, as
                                                                                Co-Personal Representatives of the Estate of
                                                                                Carmen M. Schentrup
                                                                                Miami Tower
                                                                                100 S.E. Second Street, Suite 2900
                                                                                Miami, Florida 33131
                                                                                Telephone: (305) 577-4177

                                                                         22
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    One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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                                                                                Facsimile: (305) 533-8519
                                                                                E-mail: jtew@rvmrlaw.com
                                                                                rstein@rvmrlaw.com
                                                                                dperez@rvmrlaw.com

                                                                                By /s/ Robert M. Stein___________
                                                                                Robert M. Stein, Esq.
                                                                                Florida Bar No. 93936
                                                                                Jeffrey A. Tew, Esq.
                                                                                Florida Bar No. 121291


                                                                                THE HAGGARD LAW FIRM
                                                                                Attorneys for Plaintiffs, Stacy Lippel,
                                                                                Manuel Oliver, Patricia Padauy, and Linda
                                                                                Beigel Schulman
                                                                                330 Alhambra Circle
                                                                                Coral Gables, FL 33134
                                                                                305-446-5700
                                                                                Fax: 305-446-1154
                                                                                Email: clm@haggardlawfirm.com

                                                                                By: /s/Christopher Lang Marlowe
                                                                                 Christopher Lang Marlowe, Esq.

                                                                                Kelley | Uustal, PLC
                                                                                Attorneys for Plaintiffs Alhadeff, Laman,
                                                                                Grady, Fuentes, and Mayor
                                                                                500 North Federal Highway, Suite 200
                                                                                Fort Lauderdale, Florida 33301
                                                                                Telephone: (954) 522-6601
                                                                                Facsimile: (954) 522-6608
                                                                                rwk@kulaw.com
                                                                                klw@kulaw.com

                                                                                By: /s/ Kimberly L. Wald
                                                                                 Robert W. Kelley, Esquire
                                                                                 Florida Bar No. 328569
                                                                                 Kimberly L. Wald, Esquire
                                                                                 Florida Bar No. 112263


                                                                                TRACY CONSIDINE, P.A.
                                                                                Counsel for Shara Kaplan
                                                                                1 Sleiman Parkway, Suite 210
                                                                                Jacksonville, Florida 32216

                                                                         23
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    One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
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                                                                                Telephone No.: (904) 636-9777
                                                                                Facsimile No.: (904) 636-5665
                                                                                E-mail: tconsidine@tcjaxlaw.com
                                                                                jcolucci@tcjaxlaw.com

                                                                                By: /s/Tracy J. Considine
                                                                                Tracy J. Considine, Esq.
                                                                                Florida Bar No.: 599816

                                                                                Counsel for Andrew Pollack:
                                                                                BRILL & RINALDI, THE LAW FIRM
                                                                                17150 Royal Palm Boulevard, Suite 2
                                                                                Weston, Florida 33326
                                                                                Telephone: (954) 876-4344
                                                                                Facsimile: (954) 384-6226

                                                                                By: /s/David W. Brill
                                                                                David W. Brill, Esq.
                                                                                Florida Bar No.: 959560
                                                                                Primary e-mail: david@brillrinaldi.com
                                                                                Secondary e-mail: yamile@brillrinaldi.com
                                                                                Joseph J. Rinaldi, Jr., Esq.
                                                                                Florida Bar No.: 581941
                                                                                Primary e-mail: joe@brillrinaldi.com
                                                                                Secondary e-mail: yamile@brillrinaldi.com

                                                                                –          AND –

                                                                                JOEL S. PERWIN, P.A.
                                                                                Alfred I. Dupont Building, Suite 1422
                                                                                169 E. Flagler Street
                                                                                Miami, Florida 33131
                                                                                Telephone: (305) 779-6090
                                                                                Facsimile: (305) 779-6095
                                                                                By: /s/Joel S. Perwin
                                                                                Joel S. Perwin, Esq.
                                                                                Florida Bar No.: 316814
                                                                                Primary e-mail: jperwin@perwinlaw.com
                                                                                Secondary email: sbigelow@perwinlaw.com

                                                                                Counsel for Plaintiffs, Annika Dworet and
                                                                                Mitchell Dworet, as Parents and Natural
                                                                                Guardians of Alexander Dworet, a minor

                                                                                By: /s/ Alan Goldfarb
                                                                                ALAN GOLFARB, P.A.

                                                                         24
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                                                                                Miami Tower, Suite 4500
                                                                                100 S.E. 2nd Street
                                                                                Miami, FL 33131
                                                                                Phone: 305-371-3111
                                                                                Fax: 305-577-8375
                                                                                agoldfarb@goldfarbpa.com

                                                                                Co-Counsel for Plaintiffs, Annika Dworet
                                                                                and Mitchell Dworet, as Parents and
                                                                                Natural Guardians of Alexander Dworet, a
                                                                                minor

                                                                                By: /s/ Michael Goldfarb
                                                                                GOLDFARB LAW, P.A.
                                                                                2800 Ponce de Leon Blvd.
                                                                                Suite 1100
                                                                                Coral Gables, FL 33134
                                                                                Phone: 305-443-3200
                                                                                Fax: 305-428-2418

                                                                                michael@goldfarblaw.com
                                                                                dappleby@goldfarbpa.com
                                                                                ablanco@goldfarbpa.com

                                                                                COLSON HICKS EIDSON, P.A.
                                                                                Counsel for Plaintiffs, Max Schachter, as
                                                                                Personal Representative of the Estate of
                                                                                Alexander L. Schachter, and Benjamin
                                                                                Wikander
                                                                                255 Alhambra Circle, PH
                                                                                Coral Gables, FL 33134
                                                                                Phone: (305) 476-7400
                                                                                Fax: (305) 476-7444
                                                                                patrick@colson.com
                                                                                julie@colson.com
                                                                                curt@colson.com

                                                                                By: /s/ Patrick Montoya
                                                                                Patrick S. Montoya
                                                                                FL Bar No. 0524441
                                                                                Julie Braman Kane
                                                                                Fla. Bar No. 980277
                                                                                Curtis B. Miner
                                                                                FL Bar No. 885681
                                                                                Julie Braman Kane
                                                                                Fla. Bar No. 980277

                                                                         25
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                                                                                GROSSMAN ROTH YAFFA COHEN
                                                                                Attorneys for Plaintiffs, Ashley Maria Baez, a
                                                                                minor, by and through her Parents and
                                                                                Natural Guardians, Katherine Baez and Juan
                                                                                David Baez; Isabel Chequer, Anthony and
                                                                                Jennifer    Montalto,       as    Co-Personal
                                                                                Representatives of the Estate of Gina Rose
                                                                                Montalto, deceased, and individually; and
                                                                                Kong Feng Wang a/k/a Jacky Wang and Hui
                                                                                Ying Zhang a/k/a Linda Wang, as
                                                                                CoPersonal Representatives of the Estate of
                                                                                Peter Wang, deceased, and individually
                                                                                2525 Ponce de Leon Blvd.
                                                                                Suite 1150
                                                                                Coral Gables, FL 33134
                                                                                T: 305-442-8666
                                                                                szg@grossmanroth.com
                                                                                aag@grossmanroth.com

                                                                                By: /s/ Alex Arteaga-Gomez
                                                                                Stuart Z. Grossman, Esq.
                                                                                Fla. Bar No. 156113
                                                                                Alex Arteaga-Gomez, Esq.
                                                                                Fla. Bar No. 18122




                                                                         26
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    One SE Third Avenue, Suite 2300, Miami, FL 33131 • Miami 305.358.2800 Fax 305.358.2382 • Fort Lauderdale 954.463.4346   www.podhurst.com
